
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LOCKARD2023 OK 85Case Number: SCBD-7505Decided: 08/01/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 85, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
James Harry Lockard, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Probable Cause Affidavit, Plea of No Contest, Summary of Facts, Disposition Order, and Journal Entry of Deferred Sentencing, in the criminal matter of State of Oklahoma v. James Harry Lockard, Case No. CF-2023-111, in the District Court of Cleveland County. On March 31, 2023, Respondent James Harry Lockard entered a plea of no contest to Domestic Assault and Battery, a misdemeanor, in violation of 21 O.S., § 64437A O.S., § 6-101

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶3 On June 28, 2023, this Court issued a Show Cause Order directing Respondent to show cause, no later than July 13, 2023, why an order of interim suspension from the practice of law should not be entered. Respondent and the OBA responded.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules."

¶5 Having received certified copies of the papers and orders under Rule 7.3, and after review of the responses and certified copies of information, plea and sentence, this Court orders that James Harry Lockard is immediately suspended from the practice of law. Pursuant to Rule 7.4 of the RGDP, James Harry Lockard has until August 17, 2023, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until September 1, 2023, to respond.

¶6 DONE BY ORDER OF THE SUPREME COURT on August 1, 2023.


/S/ACTING CHIEF JUSTICE



Kane, C.J., Rowe, V.C.J., Kauger, Winchester, Edmondson, Combs, Darby, and Kuehn, JJ., concur;

Gurich, J., dissents.



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